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                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION


UNITED STATES OF AMERICA
                                                                                  PLAINTIFF

v.                           Case No. 4:07CR00251-1 JMM
                             Case No. 4:07CR00317-2 JMM

SCOTTIE LEE COSTNER                                                               DEFENDANT



                                            ORDER

       The Defendant appeared before the Court for a preliminary hearing pursuant to Rule 32.1

of the Federal Rules of Criminal Procedure. He waived his right to a preliminary hearing. The

Government did not strenuously object to Defendant’s release pending his next court appearance.

Therefore, the Court orders Defendant be released pending the hearing under the condition of home

detention.

       SO ORDERED this 2nd of May, 2012.



                                                     ___________________________________
                                                     UNITED STATES MAGISTRATE JUDGE
